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                    Exhibit A

 Fee Summary by Professional for the Period
     June 1, 2015 through June 30, 2015
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                                                     EFH Corp
                                                Deloitte & Touche LLP
                             Fees Sorted by Category for the Fee Period
                                        June 01, 2015 - June 30, 2015

Bankruptcy Related Research Consultation and Transaction
Professional           Level                                                  Rate       Hours       Fees
Blair, Kirk                 Partner/Principal                                $365.00       3.8    $2,736.00
Carr, Vickie                Partner/Principal                                $720.00       0.5      $360.00
Hoffman, David              Partner/Principal                                $720.00       1.3      $936.00
Kushner, Jonathan           Partner/Principal                                $720.00       1.5    $1,080.00
Stokx, Randy                Partner/Principal                                $720.00       3.5    $2,520.00
Favor, Rick                 Director                                         $720.00       1.0      $720.00
Sasso, Anthony              Director                                         $720.00       3.8    $2,736.00
Handler, Benjamin           Senior Manager                                   $620.00       1.0      $620.00
Hickl, Jeff                 Senior Manager                                   $620.00       0.5      $310.00
Parker, Matt                Senior Manager                                   $620.00       2.8    $1,736.00
Murawski, Bryan             Senior Consultant                                $425.00       3.8    $1,615.00
Professional Subtotal:                                                                    23.5   $15,369.00
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                                                     EFH Corp
                                                Deloitte & Touche LLP
                             Fees Sorted by Category for the Fee Period
                                        June 01, 2015 - June 30, 2015

Financial Statement Audit and Related Services
Professional           Level                                                  Rate       Hours         Fees
Blair, Kirk                 Partner/Principal                                $365.00        2.7       $985.50
Carr, Vickie                Partner/Principal                                $365.00        9.5     $3,467.50
Mano, Patrice               Partner/Principal                                $365.00        0.3       $109.50
Stokx, Randy                Partner/Principal                                $365.00       46.6    $17,009.00
Wahrman, Julie              Partner/Principal                                $365.00        2.5       $912.50
Winger, Julie               Partner/Principal                                $365.00        3.6     $1,314.00
Craig, Valerie              Director                                         $365.00        6.0     $2,190.00
Favor, Rick                 Director                                         $365.00       15.0     $5,475.00
Johnston, Josh              Director                                         $365.00        2.5       $912.50
Sasso, Anthony              Director                                         $365.00        6.7     $2,445.50
Tuite, Patty                Director                                         $365.00        0.5       $182.50
Becker, Christina           Senior Manager                                   $290.00        0.3        $87.00
Bowers, Rachel              Senior Manager                                   $290.00       89.1    $25,839.00
Dwivedi, Rajesh             Senior Manager                                   $290.00        1.0       $290.00
Garrison, Amy               Senior Manager                                   $290.00        0.5       $145.00
Hickl, Jeff                 Senior Manager                                   $290.00       11.2     $3,248.00
Parker, Matt                Senior Manager                                   $290.00       89.3    $25,897.00
Poindexter, Heath           Senior Manager                                   $290.00       19.7     $5,713.00
Freeman, Mike               Manager                                          $265.00       35.9     $9,513.50
Kidd, Erin                  Manager                                          $265.00       33.2     $8,798.00
Padick, Alison              Manager                                          $265.00        0.5       $132.50
Powell, Clayton             Manager                                          $265.00       17.1     $4,531.50
Stafford, Ted               Manager                                          $265.00        2.7       $715.50
Varkey, Jamie               Manager                                          $265.00        4.8     $1,272.00
Babanova, Maria             Senior Consultant                                $215.00       76.0    $16,340.00
Coetzee, Rachelle           Senior Consultant                                $215.00       38.6     $8,299.00
Kelly, Cathi                Senior Consultant                                $215.00        0.8       $172.00
Morehead, David             Senior Consultant                                $215.00       35.3     $7,589.50
Murawski, Bryan             Senior Consultant                                $215.00      102.1    $21,951.50
Pritchett, Cody             Senior Consultant                                $215.00        8.0     $1,720.00
Schneider, Stephen          Senior Consultant                                $215.00       19.3     $4,149.50
Sims, Zac                   Senior Consultant                                $215.00        1.0       $215.00
Astorga Solis, Jessica      Consultant                                       $175.00       70.5    $12,337.50
Brunson, Steve              Consultant                                       $175.00       95.1    $16,642.50
Casey, Chris                Consultant                                       $175.00      119.1    $20,842.50
Evetts, Erin                Consultant                                       $175.00        2.6       $455.00
Henry, Diane                Consultant                                       $175.00       96.9    $16,957.50
O'Donnell, Chris            Consultant                                       $175.00        8.7     $1,522.50
Pansari, Anubhav            Consultant                                       $175.00        4.0       $700.00
Persons, Hillary            Consultant                                       $175.00       86.8    $15,190.00
Pothoulakis, Tony           Consultant                                       $175.00      107.1    $18,742.50
Reynolds, Matt              Consultant                                       $175.00        3.3       $577.50
Twigge, Daniel              Consultant                                       $175.00      138.3    $24,202.50
Usiade, Kose                Consultant                                       $175.00        1.0       $175.00
Yadav, Devavrata            Consultant                                       $175.00        1.5       $262.50
Professional Subtotal:                                                                  1,417.2   $310,229.50
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                                                      EFH Corp
                                                 Deloitte & Touche LLP
                               Fees Sorted by Category for the Fee Period
                                          June 01, 2015 - June 30, 2015

Non-Working Travel
Professional                 Level                                             Rate       Hours        Fees
Blair, Kirk                  Partner/Principal                                $365.00       8.0    $2,920.00
Favor, Rick                  Director                                         $365.00       8.0    $2,920.00
Sasso, Anthony               Director                                         $365.00       8.0    $2,920.00
Powell, Clayton              Manager                                          $265.00       7.0    $1,855.00
Professional Subtotal:                                                                     31.0   $10,615.00


Less 50% Non-Working Travel Deduction                                                             ($5,307.50)
Total:                                                                                              $5,307.50
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                                                        EFH Corp
                                              Deloitte & Touche LLP
                             Fees Sorted by Category for the Fee Period
                                         June 01, 2015 - June 30, 2015

Preparation of Fee Applications
Professional            Level                                                     Rate       Hours      Fees
Murawski, Bryan             Senior Consultant                                    $215.00      14.3   $3,074.50
Austin, Carisa              Senior Project Controller                            $215.00       4.2     $903.00
Yadav, Devavrata            Consultant                                           $175.00       1.3     $227.50
Gutierrez, Dalia            Project Controller                                   $175.00      18.9   $3,307.50
Professional Subtotal:                                                                        38.7   $7,512.50
